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UNITED STATES DISTRICT COURT | Ucu | 6 20ll Un
EASTERN DISTRICT OF VIRGINIA |
Alexandria Division CLERK. US. fT |
THOMAS A. RUTH, IT )
)
Plaintiff, )
)
v. ) Civil Action No._/:/lev /3€¢ tribf200
)
TARGET CORPORATION )
d/b/a Target Stores, Inc. )
)
Defendant. )

NOTICE OF REMOVAL
Defendant Target Corporation d/b/a Target Stores (“Target”), by counsel,
pursuant to 28 U.S.C.S. § 1332, 28 U.S.C.S. § 1441 and 28 U.S.C.S. § 1446, states as follows for
its Notice of Removal:

1, This action is a civil action within the meaning of the Acts of Congress
relating to the removal of cases.

2. This action was initiated in the Circuit Court of the County of Fairfax on
or about November 7, 2011, with the filing of a Complaint, Case No. CL2011-15831. In
Plaintiff's Complaint, Plaintiff seeks a judgment in the amount of Two Hundred Fifty Thousand
Dollars ($250,000.00) against Target. See Complaint, attached hereto as Exhibit A.

3. Target was served with the Complaint on November 22, 2011.

4. Target filed an Answer in the Circuit Court of the County of Fairfax on

December 13, 2011. A copy of the Answer is attached hereto as Exhibit B.
I. Complete Diversity Exists between the Proper Parties.

5. At the time of the commencement of this action, upon information and
belief, Plaintiff was a citizen and resident of the Commonwealth of Virginia. Upon information
and belief, Plaintiff continues to be a citizen and resident of the Commonwealth of Virginia.

6. At the time of the commencement of this action, defendant Target was,
and still is, a citizen of the State of Minnesota, where it is incorporated and where its principal
place of business is located.

II. The Amount in Controversy Is Satisfied in this Case.

7. Plaintiff claims compensatory damages in the amount of $250,000.00. See
Exhibit A, Complaint. Thus, the Complaint places in controversy an amount in excess of
$75,000.00, exclusive of costs and interest.

Ill. The Removal is Timely, and the Prerequisites for Removal Have Been Met.

8. This Notice of Removal is timely. Target was served in this case on
November 22, 2011, and thus, this Notice of Removal is being filed within 30 days of service
pursuant to 28 U.S.C. § 1446(b).

9. This notice of removal is being filed within one (1) year of the date of
commencement of the action for removal purposes.

10. Because complete diversity exists between Plaintiff and Target, Target is
not a resident of the forum state, and the amount in controversy exceeds the jurisdictional
amount required by 28 U.S.C. § 1332, this Court is vested with subject matter jurisdiction over
this action and the case is properly removable under 28 U.S.C. § 1441(b).

11. Target has not previously sought similar relief in this case.
12. The prerequisites for removal under 28 U.S.C. §§ 1441 and 1446 have
been met.

13. Target attaches a copy of the papers served on it as Exhibit A.

14. A true and correct copy of this Notice of Removal will be served upon all
parties of this action and the Circuit Court of the County of Fairfax, promptly after the filing of
this Notice, in accordance with the certificate set forth below and with the requirements of law.
The clerk of the aforesaid State court shall effect the removal, and the State court shall proceed
no further unless the case is remanded, as provided by law.

15. Target reserves the right to amend its notice of removal and/or oppose any
amendment of Plaintiff's Complaint that would add any non-diverse defendant(s), destroying this
Court’s diversity jurisdiction.

16. If any questions arise as to the propriety of the removal of this action,
Target requests the opportunity to present a brief and argument in support of its position that this
case is removable,

WHEREFORE, on this 15" day of December, 2011, defendant Target
Corporation d/b/a Target Stores, Inc. hereby removes the above-titled state court action, now
pending in the Circuit Court of the County of Fairfax, Virginia, bearing Case No. CL2011-
15831, to the United States District Court for the Eastern District of Virginia, Alexandria
Division.

TARGET CORPORATION
d/b/a Target Stores

By
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CERTIFICATE OF SERVICE
I hereby certify that on this \o* day of December, 2011, a true copy of the
foregoing was sent via facsimile and U.S. Mail, postage prepaid, addressed as follows:

Laurence J. Tracey, Esq.

705 Park Avenue

Falls Church, Virginia 22046
Telephone: (703) 536-7971
Facsimile: (703) 536-7975
Ltracyesq@aol.com

Counsel for Plaintiff
And sent via federal express, next business day service to:

John T. Frey, Clerk

Fairfax County Circuit Court
4110 Chain Bridge Road
Fairfax, Virginia 22303

 
 

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